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 1                              UNITED STATES DISTRICT COURT

 2                                   DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                         Case No. 2:20-CR-00294-JAD-BNW-1
 4
                   Plaintiff,                          ORDER
 5
            v.
 6                                                             ECF No. 34
     MARIO CHAIDEZ,
 7
                   Defendant.
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10          Based on the parties' stipulation and good cause appearing, IT IS ORDERED that

11   the sentencing hearing currently scheduled for Monday, November 22, 2021 at 3:00 p.m., be

12   vacated and continued to February 7, 2022, at 2:00 p.m.

13          DATED this 22nd day of November, 2021.

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                                                 UNITED STATES DISTRICT JUDGE
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